Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 1
                                    of 8




                           Exhibit 43
                  Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 2
                                                      of 8



                                                       Sierra Club v. Chao et al.
                    Revised Responses to Plaintiffs’ February 16, 2018 Request re: Motion to Complete the Record

                                   Description                                                                    Response

I   Documents Related to Air Quality Modeling for the CAA Conformity Determination

1   Output results from any model run(s) that include all receptor locations in   This item does not identify any specific document missing from the
    the I-25/I-70 modeling domain, and that use consistent input parameters       administrative record that was directly or indirectly considered by the
    for all emission source segments. Single modeling runs that produce           agency in taking any final action regarding the Central 70 Project.
    results for all receptor locations must have been performed. The input and
    output files for all modeling runs performed should be included in the AR.    Without waiving any objection, FHWA responds that it did not locate
                                                                                  additional documents in the agency project fitting this description. All
                                                                                  output results that were considered by the agency in taking any final
                                                                                  decision regarding the Central 70 Project are already included in the
                                                                                  administrative record.
2   Documents explaining the differences in the inputs used to model all but      This item does not identify any specific document missing from the
    seven receptor locations, and the inputs used to model the seven receptor     administrative record that was directly or indirectly considered by the
    locations missing from the general model run.                                 agency in taking any final action regarding the Central 70 Project.

                                                                                  Without waiving any objection, FHWA responds that it did not locate
                                                                                  documents in the agency project file fitting this description.

3   Any communication between FHWA Division staff and its modeling staff          This item does not identify any specific document missing from the
    and/or contractor requesting separate modeling runs for the seven receptor    administrative record that was directly or indirectly considered by the
    locations omitted from the general modeling run.                              agency in taking any final action regarding the Central 70 Project.

                                                                                  Without waiving any objection, FHWA responds that it did not locate
                                                                                  documents in the agency project file fitting this description.

4   Any communication within FHWA between the Division staff and the Air          This item does not identify any specific document missing from the
    Quality office explaining why separate modeling runs were being               administrative record that was directly or indirectly considered by the
    performed for seven receptor locations, what differences in modeling          agency in taking any final action regarding the Central 70 Project.
    inputs would be used, and the rationale for using different modeling inputs
    for modeling different receptors.                                             Without waiving any objection, FHWA responds that it did not locate
                                                                                  documents in the agency project file fitting this description.
                   Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 3
                                                       of 8



                                    Description                                                                     Response

5    Any interagency consultation or communication between FHWA and U.S.            This item does not identify any specific document missing from the
     EPA, and/or Colorado DOT, and/or Colorado Department of Public Health          administrative record that was directly or indirectly considered by the
     and Environment explaining why separate modeling runs were being               agency in taking any final action regarding the Central 70 Project.
     performed for seven receptor locations, what differences in modeling
     inputs would be used, and the rationale for using different modeling inputs    Without waiving any objection, FHWA responds that it did not locate
     for different receptors.                                                       documents in the agency project file fitting this description.

6    Any communication from U.S. EPA authorizing FHWA to:                           These items do not identify any specific document missing from the
                                                                                    administrative record that was directly or indirectly considered by the
     (a) perform separate modeling for the seven receptor locations omitted         agency in taking any final action regarding the Central 70 Project.
         from the general modeling that used different input parameters from
         the inputs used for the general modeling run; and/or                       Without waiving any objection, FHWA responds that it did not locate
                                                                                    documents in the agency project file fitting this description.
     (b) depart from specific criteria for modeling assumptions or other criteria
         specified in EPA’s modeling guidance.

II   Disclosure of Data Inputs, Assumptions and Procedures Used to Model Project Emissions for Interagency Consultation and Public
     Involvement
1    Meeting notes of the EPA/FHWA call on 1/17/17.                       FHWA was unable to locate a record fitting this description in the agency
                                                                          project file. Any such record was not directly or indirectly considered by
                                                                          the agency in taking any final action regarding the Central 70 Project.

2    The “technical information” received by EPA from FHWA on 1/17/17.              Included in the administrative record under DRCOG Traffic Forecasts
                                                                                    and PM10 GIS Files ((Internal Records > Air Quality > Air Quality
                                                                                    Modeling Files > ROD AQModeling >...).

3    Email dated 12/22/16 from EPA to FHWA that clarified EPA’s request for         This item was inadvertently omitted and will be added to the
     additional PM10 hot-spot modeling information. EPA’s 1/12/17 letter to         administrative record.
     FHWA (00512.pdf, AR 29614).

4    FHWA’s 12/23/16 response to 12/22/16 email request described above.            This item was inadvertently omitted and will be added to the
     See EPA’s 1/12/17 letter (00512.pdf, AR 29614).                                administrative record.




                                                                           -2-
                  Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 4
                                                      of 8



                                    Description                                                                     Response

5   1/4/17 FHWA email “that provided additional PM10 hot-spot modeling              This item was inadvertently omitted and will be added to the
    information.” See EPA’s 1/12/17 letter (00512.pdf, AR 29614).                   administrative record.

6   Information released to the EPA [by FHWA] on December 16, 2016                  Included in the administrative record under Internal Records > Air
    including but not limited to a “spreadsheet that illustrated the link-by-link   Quality > Air Quality Modeling Files > ROD AQModeling > Other
    truck information that was used.” See EPA’s 1/12/17 letter (AR at 512.pdf,      Inputs …
    29616).

7   EPA’s 1/12/17 letter (AR at 512.pdf, 29615) specifies that information
    EPA needed for review of the PM10 hot-spot analysis was missing.
    Provide all documentation and communications related to the following:

    (a) Modeling protocol used for the Draft Air Quality Conformity                 (a) Included in the administrative record at File No. 5241 (Bates Nos.
        Determination.                                                                  89743-89746). No additional records were directly or indirectly
                                                                                        considered by the agency in taking any final action regarding the
                                                                                        Central 70 Project.

    (b) Link by link traffic volumes used for the Draft Air Quality                 (b) Included in the administrative record under DRCOG Traffic Forecasts
        Conformity Determination.                                                       ((Internal Records > Air Quality > Air Quality Modeling Files > ROD
                                                                                        AQModeling >...). No additional records were directly or indirectly
                                                                                        considered by the agency in taking any final action regarding the
                                                                                        Central 70 Project.

    (c) Scripts and intermediate tables used to calculate the grams/second              (c) Two records further explaining the method used to calculate the
        rates for volume sources for the Draft Air Quality Conformity                       grams/second rates were omitted and will be added to the record.
        Determination.                                                                      No additional records were directly or indirectly considered by
                                                                                            the agency in taking any final action regarding the Central 70
                                                                                            Project.
    (d) How emissions factors from MOVES modeling were applied to the
        AERMOD input files used for the Draft Air Quality Conformity                (d) Included in the administrative record at File No. 426 (Bates Nos.
        Determination.                                                                  29032-29044). No additional records were directly or indirectly
                                                                                        considered by the agency in taking any final action regarding the
                                                                                        Central 70 Project.




                                                                           -3-
                   Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 5
                                                       of 8



                                    Description                                                                    Response

8    Any communications or documents containing, describing or referring to        This item does not identify any specific document missing from the
     EPA’s request for “outstanding modeling information for the PM10 hot-         administrative record that was directly or indirectly considered by the
     spot analysis” and “additional PM10 sensitivity analysis” referenced in the   agency in taking any final action regarding the Central 70 Project.
     timeline under the entry for December 1, 2016.
                                                                                   Without waiving any objection, FHWA responds that it located one
                                                                                   record in the agency project file fitting this description that was
                                                                                   inadvertently omitted and will be added to the administrative record. No
                                                                                   additional records were directly or indirectly considered by the agency in
                                                                                   taking any final action regarding the Central 70 Project.

9    Any communications or documents containing, describing, discussing or         This item does not identify any specific document missing from the
     referring to FHWA’s response to EPA’s request for “outstanding modeling       administrative record that was directly or indirectly considered by the
     information for the PM10 hot-spot analysis” and “additional PM10              agency in taking any final action regarding the Central 70 Project.
     sensitivity analysis” referenced in the timeline under the entry for
     December 1, 2016.                                                             Without waiving any objection, FHWA responds that it located one
                                                                                   record in the agency project file fitting this description that was
                                                                                   inadvertently omitted and will be added to the administrative record. No
                                                                                   additional records were directly or indirectly considered by the agency in
                                                                                   taking any final action regarding the Central 70 Project.

10   Any communications, documents or data files FHWA provided to EPA              This item does not identify any specific document missing from the
     regarding the Draft Air Quality Update document and information               administrative record that was directly or indirectly considered by the
     available for EPA’s review referenced in the timeline under the entry for     agency in taking any final action regarding the Central 70 Project.
     December 16, 2016.
                                                                                   Without waiving any objection, FHWA responds that records fitting this
                                                                                   description are already included in the administrative record in the
                                                                                   following files: AERMOD Input & Output Files; DRCOG Traffic
                                                                                   Forecasts; PM10 GIS (Internal Records > Air Quality > Air Quality
                                                                                   Modeling Files > ROD AQModeling >...). No additional records were
                                                                                   directly or indirectly considered by the agency in taking any final action
                                                                                   regarding the Central 70 Project.




                                                                          -4-
                  Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 6
                                                      of 8



                                   Description                                                                  Response

11   Any communications or documents containing, describing or referring to     This item does not identify any specific document missing from the
     EPA’s request for “additional AERMOD files for the PM10 hot-spot           administrative record that was directly or indirectly considered by the
     modeling” referenced in the timeline under the entry for December 18,      agency in taking any final action regarding the Central 70 Project.
     2016.
                                                                                Without waiving any objection, FHWA responds that it did not locate
                                                                                documents in the agency project file fitting this description.

12   Any communications or documents containing, describing, discussing or      This item does not identify any specific document missing from the
     referring to FHWA’s response to EPA’s request referenced in the timeline   administrative record that was directly or indirectly considered by the
     under the entry for December 18, 2016, including but not limited to any    agency in taking any final action regarding the Central 70 Project.
     data files and “AERMOD files for the PM10 hot-spot modeling”.
                                                                                Without waiving any objection, FHWA responds that it did not locate
                                                                                documents in the agency project file fitting this description.

13   The DRCOG model data used for the traffic modeling to generate link        This item is already included in the administrative record under DRCOG
     data.                                                                      Traffic Forecasts ((Internal Records > Air Quality > Air Quality
                                                                                Modeling Files > ROD AQModeling >...). No additional records were
                                                                                directly or indirectly considered by the agency in taking any final action
                                                                                regarding the Central 70 Project.

14   Any documentation explaining the methodology applied to generate link      This item does not identify any specific document missing from the
     data from DRCOG modeling data.                                             administrative record that was directly or indirectly considered by the
                                                                                agency in taking any final action regarding the Central 70 Project.

                                                                                Without waiving any objection, FHWA responds that records fitting this
                                                                                description are already included in the administrative record at File No.
                                                                                5330 (Bates: 90244-90246) and File No. 5224 (Bates: 89533-89535). No
                                                                                additional records were directly or indirectly considered by the agency in
                                                                                taking any final action regarding the Central 70 Project.




                                                                        -5-
                    Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 7
                                                        of 8



                                     Description                                                                   Response

15    Any communications or other documents that assess the reliability of the    This item does not identify any specific document missing from the
      traffic modeling data for links on I-70 by comparing the modeled truck      administrative record that was directly or indirectly considered by the
      data with actual truck traffic counts.                                      agency in taking any final action regarding the Central 70 Project.

                                                                                  Without waiving any objection, FHWA responds that it did not locate
                                                                                  additional documents in the agency project file fitting this description.

16    Any communications or other documents that explain how the traffic          This item does not identify any specific document missing from the
      modeling produced estimates of traffic counts by vehicle classification,    administrative record that was directly or indirectly considered by the
      how vehicle classes were defined, and which vehicle classes were            agency in taking any final action regarding the Central 70 Project.
      estimated in the traffic modeling.
                                                                                  Without waiving any objection, FHWA responds that records fitting this
                                                                                  description are already included in the administrative record at File No.
                                                                                  5224 (Bates: 89533-89535). No additional records were directly or
                                                                                  indirectly considered by the agency in taking any final action regarding
                                                                                  the Central 70 Project.

17    Any communications or other documents that explain how vehicles             This item does not identify any specific document missing from the
      classified as “trucks” in the traffic modeling were allocated to vehicle    administrative record that was directly or indirectly considered by the
      classes required as input to EPA’s MOVES for the purpose of determining     agency in taking any final action regarding the Central 70 Project.
      total emissions.
                                                                                  Without waiving any objection, FHWA responds that it did not locate
                                                                                  documents in the agency project file fitting this description.

18    “A one page summary of the air quality/toxics approach for the EIS”         This item was inadvertently omitted and will be added to the
      included in Executive Oversight Committee Meeting Notes from                administrative record.
      9/15/2004 (AR 00907.pdf, 47069).
III   Documents Related to Health Impacts

1     Muller, Brian, Lynn Johnson, John Wyckoff, and Fred Nuszdorfer.             This item was not directly or indirectly considered by the agency in
      “Areawide Coordinated Cumulative Effects Analysis – Phase I.” July          taking any final action regarding the Central 70 Project.
      2008, Report No. CDOT-2008-6, available at
      https://www.codot.gov/programs/research/pdfs/2008/accea.pdf (last
      accessed February 16, 2018).


                                                                            -6-
                  Case No. 1:17-cv-01661-WJM-MEH Document 115-7 filed 03/09/18 USDC Colorado pg 8
                                                      of 8



                                    Description                                                                   Response

2   Thomas, Gregg, Debra Bain, and Sabrina Williams. “Technical Report -   This item is already included in the administrative record at File No. 5953
    Going One Step Beyond: A Neighborhood Scale Air Toxics Assessment in (Bates Nos. 160795-160883).
    North Denver (The Good Neighbor Project).” March 9, 2007. Available at
    https://www.codot.gov/programs/research/pdfs/2007/goodneighbor.pdf
    (last accessed February 16, 2018).

3   Health in Transportation Corridor Planning Framework (FHWA): This item was not directly or indirectly considered by the agency in
    https://www.fhwadot.gov/planning/health_in_transportation/planning_fra taking any final action regarding the Central 70 Project.
    mework/the_framework/fhwahep16014.pdf.

4   Frequently Asked Questions re Health and Transportation.                      This item was not directly or indirectly considered by the agency in
    https://www.fhwa.dot.gov/planning/health_in_transportation/faq/faq.pdf.       taking any final action regarding the Central 70 Project.

5   Transportation and Health Tool (THT) – Cleaner Air                            This item was not directly or indirectly considered by the agency in
    https://www.transportation.gov/mission/health/cleaner-air.                    taking any final action regarding the Central 70 Project.

6   “Fine-Particulate Air Pollution and Life Expectancy in the United States,” This item was not directly or indirectly considered by the agency in
    Pope, A. et al., New England J. of Medicine.                               taking any final action regarding the Central 70 Project.
    http://www.nejm.org/doi/full/10.1056/NEJMsa0805646.

    “Effects on respiratory health of a reduction in air pollution from vehicle   This item was not directly or indirectly considered by the agency in
7   exhaust emissions,” Burr, M. et al., Journal of Occupational and              taking any final action regarding the Central 70 Project.
    Environmental Medicine.
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1740733/.




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